                                              UNITED STATES BANKRUPTCY COURT
                                                   Northern District of California

In re:            Keyhan Mohanna           )                               Bankruptcy No.: 18-30983
                                           )                               R.S. No.: 1
                                           )                               Hearing Date:
                                           )                               Time:
Debtor(s)                                  )
__________________________________________ )

                                                      Relief From Stay Cover Sheet

Instructions: Complete caption and Section A for all motions. Complete Section B for mobile homes, motor vehicles, and personal
property. Complete Section C for real property. Utilize Section C as necessary. If moving party is not a secured creditor, briefly
summarize the nature of the motion in Section D.

(A)      Date Petition Filed:                  September 5, 2018 Chapter: 13
         Prior hearings on this obligation:    None__             Last Day to File §523/§727/§1328 Complaints: 12/10/2018

(B)      Description of personal property collateral (e.g. 1983 Ford Taurus):

         Secured Creditor [ ] or lessor [ ]
         Fair market value: $     ___           Source of value: ______________________________________
         Contract Balance: $___________________ Pre-Petition Default: $ _________________________________
         Monthly Payment: $___________________                    No. of months: _________________________
         Insurance Advance: $               _   Post-Petition Default: $          __               _____
                                                                  No. of months: _________________________

(C)      Description of real property collateral (e.g. Single family residence, Oakland, CA): Residential apartment in San Francisco,
CA

         Fair market value: $                     Source of value:                  If appraisal, date: ________________________

         Moving Party's position (first trust deed, second, abstract, etc.):

         Approx. Bal. $____________________________                Pre-Petition Default: $__________________________________
         As of (date):                             ____                     No. of months: ________________________________
         Mo. payment: $___________________________                 Post-Petition Default: $_________________________________
         Notice of Default (date):                _____                     No. of months:
         Notice of Trustee's Sale:_____________________            Advances Senior Liens: $_______________________________

         Specify name and status of other liens and encumbrances, if known (e.g. trust deeds, tax liens, etc.):
 Position                                                            Amount                Mo. Payment            Defaults

 1st Trust Deed:_________________________                      $                    $                             $

 2nd Trust Deed: ________________________                      $                    $                             $
 _____________________________________:
 _____________________________________:
 _____________________________________:

                                                   (Total) $                        $                             $
(D)       Other pertinent information: Duke Partners II, LLC files this motion
for stay relief to proceed with an unlawful detainer proceeding filed against
the Debtor in state court.
 Dated: 9/18/2018                                                                       __/s/Amelia B. Valenzuela________
                                                                                                     Signature

                                                                                ___________Amelia B. Valenzuela____________
                                                                                      Attorney for Duke Partners II, LLC


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